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 6
                                UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 8

 9   NORTHWESTERN UNIVERSITY, an                      No. 2:20-cv-1043
     Illinois not-for-profit corporation,
10                                                    COMPLAINT FOR FALSE DESIGNATION
                           Plaintiff,                 OF ORIGIN, UNFAIR COMPETITION &
11                                                    COMMON LAW TRADEMARK
            v.                                        INFRINGEMENT
12
     KING COUNTY,
13
                           Defendant.
14

15
            For its claims against Defendant King County, Plaintiff Northwestern University
16
     (“Northwestern”) states as follows:
17
                                        I.      INTRODUCTION
18
            For over 25 years, Northwestern’s Children and Family Justice Center (“CFJC”) has
19
     advocated for the rights of children and their families throughout the United States, providing
20
     comprehensive legal services and fighting strenuously against youth detention. Over
21
     Northwestern’s objection, King County named its new juvenile detention facility the “Children
22
     and Family Justice Center,” or the “CFJC.” Northwestern’s ongoing efforts to avoid litigation
23
     failed after King County refused to even consider changing the name of its new youth detention
24
     facility. Northwestern now seeks to force King County to call this new facility something else.
25

26

                                                                              Perkins Coie LLP
     COMPLAINT – 1                                                       1201 Third Avenue, Suite 4900
                                                                           Seattle, WA 98101-3099
                                                                             Phone: 206.359.8000
                                                                              Fax: 206.359.9000
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 1                           II.    PARTIES, JURISDICTION, AND VENUE
 2           1.       Plaintiff Northwestern University is a private, not-for-profit, nonsectarian,
 3   coeducational institution, created by Charter by the State of Illinois in 1851 and located in
 4   Evanston, Illinois.
 5           2.       Defendant King County is a subdivision of the State of Washington, located in
 6   this District.
 7           3.       Jurisdiction of this Court is based on 28 U.S.C. § 1338(a) and (b) (acts of
 8   Congress pertaining to trademarks and related actions), 15 U.S.C. § 1121 (Lanham Act), 28
 9   U.S.C. § 1331 (federal question), 28 U.S.C. § 1367 (supplemental jurisdiction), as well as the
10   principles of pendent jurisdiction.
11           4.       This Court has personal jurisdiction over Defendant and venue is proper because
12   Defendant resides, conducts business, and has infringed and is infringing the CFJC’s intellectual
13   property in this District.
14                                 III.    FACTS AND BACKGROUND
15   Northwestern’s CFJC, Its Services, and Its Trademark Rights
16           5.       The Bluhm Legal Clinic is the clinical legal program at Northwestern Pritzker
17   School of Law, one of the professional graduate schools of Northwestern. Housing more than 20
18   different clinics within 13 centers, the Bluhm Legal Clinic offers one of the most diverse and
19   comprehensive programs among the nation’s law schools. It is internationally recognized for its
20   legal reform work and for contributing to a skilled, ethical, and public-spirited legal profession
21   integral to a society that values and promotes justice.
22           6.       The CFJC is one of the Bluhm Legal Clinic’s centers. Founded in 1992, the
23   CFJC is a comprehensive children’s law office. Information on the CFJC, its programs, and its
24   services can be found at http://www.law.northwestern.edu/legalclinic/cfjc/.
25           7.       The Northwestern Pritzker School of Law, the Bluhm Legal Clinic, and the CFJC
26   are part of Northwestern and act on its behalf.

                                                                                 Perkins Coie LLP
     COMPLAINT – 2                                                          1201 Third Avenue, Suite 4900
                                                                              Seattle, WA 98101-3099
                                                                                Phone: 206.359.8000
                                                                                 Fax: 206.359.9000
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 1          8.      CFJC faculty, staff, attorneys, and law students collaborate to promote justice for
 2   children, adolescents, and their families through direct legal representation, policy advocacy, and
 3   law reform. The CFJC rests on several fundamental principles: that youth matters; that
 4   incarceration is rarely appropriate punishment for children; and that the justice system must
 5   consider the unique characteristics, needs, and capacities of children and adolescents when
 6   determining how they should be treated under the law. The CFJC also seeks to reduce the
 7   disproportionate criminalization of youth of color and the over-incarceration of youth by
 8   expanding the use of community justice alternatives.
 9          9.      The CFJC represents young people on a wide range of matters, from delinquency
10   to immigration, to cases addressing harsh sentencing practices or the collateral consequences
11   youth face after coming into contact with the law.
12          10.     The CFJC also actively collaborates with organizations across the country on key
13   policy and law reform initiatives affecting children and adolescents. CFJC attorneys forge deep
14   connections—from the grassroots level up to major government entities—to develop fair,
15   effective, and lasting strategies for systems reform.
16          11.     As a teaching institution, the CFJC trains law students in critical skills such as
17   interviewing, counseling, investigation, legal writing, negotiation, and oral advocacy.
18          12.     And as a holistic children’s law center, the CFJC serves as a field placement for
19   masters-level social work students.
20          13.     The CFJC has a national footprint. Among other activities, the CFJC publishes
21   the Know Your Rights Zine and other juvenile-justice materials, all of which are distributed
22   nationwide; participates in national juvenile-justice organizations, programs, and networks, such
23   as the National Juvenile Defender Center, the Campaign for the Fair Sentencing of Youth, and
24   the MacArthur Foundation Models for Change; and provides legal, expert, and related consulting
25   services on matters across the country.
26

                                                                                Perkins Coie LLP
     COMPLAINT – 3                                                        1201 Third Avenue, Suite 4900
                                                                            Seattle, WA 98101-3099
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 1          14.     The CFJC has been working in Washington State and with Washington State
 2   organizations for many years.
 3          15.     For example, the CFJC partnered with King County in publishing Your Guide to
 4   the Juvenile Justice System in Washington State, attached hereto as Exhibit 1. This guide is
 5   offered online by Team Child, a nonprofit organization serving vulnerable children across
 6   Washington State and providing legal services to children in crisis in King, Pierce, Spokane, and
 7   Yakima counties, at https://teamchild.org/wp-content/uploads/2017/07/Washington-State-Know-
 8   Your-Rights-Graphic-Guide-2013.pdf.
 9          16.     Bluhm Legal Clinic and CFJC attorneys have served as expert witnesses in
10   several juvenile-justice- and public-defense-related matters in Washington State, including In the
11   Matter of Cummings (2004), Best v. Grant County (2005), and In the Matter of Massey (2006).
12          17.     The CFJC has collaborated with Washington State or its political subdivisions on
13   juvenile justice work under the auspices of the MacArthur Foundation Models for Change
14   Action Network, the NJDC assessment and summit, and the Youth Registry Strategy Convening.
15          18.     Alumni of Northwestern, including students who studied and practiced at the
16   CFJC, live and practice law in jurisdictions throughout the country and in Washington State,
17   including in Seattle, in King County, and in this District.
18          19.     The CFJC’s various activities, described above, are referred to collectively as the
19   “CFJC Services.”
20          20.     In connection with the CFJC Services—for over 25 years and since 1992—
21   Northwestern has continuously and without interruption used the marks CHILDREN AND
22   FAMILY JUSTICE CENTER and CFJC (together, the “CFJC Marks”).
23          21.     Northwestern has invested significant time, energy, and resources in promoting
24   and offering the CFJC Services under the CFJC Marks.
25

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     COMPLAINT – 4                                                       1201 Third Avenue, Suite 4900
                                                                           Seattle, WA 98101-3099
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 1          22.     The CFJC has earned significant media attention, including articles in the New
 2   York Times and Los Angeles Times and segments on CBS News and ABC News. Copies of the
 3   New York Times and Los Angeles Times articles are attached hereto as Exhibits 2 and 3.
 4          23.     The CFJC has won acclaim for its work, including the MacArthur Award for
 5   Creative and Effective Institutions in 2013.
 6          24.     As a result of these investments and efforts, Northwestern has developed
 7   substantial and valuable goodwill in the CFJC Marks, and owns strong common law rights in the
 8   CFJC Marks in many jurisdictions across the United States, including in King County,
 9   Washington.
10          25.     The CFJC Marks are proprietary, highly valuable, and important assets of
11   Northwestern and its ongoing mission.
12          26.     Northwestern has priority of use over Defendant with respect to the CFJC Marks.
13          27.     The CFJC Marks are distinctive and/or have developed secondary meaning and
14   significance in the minds of the consuming public.
15   Defendant’s Infringing Activities
16          28.     Despite years of sustained community opposition and a 2015 Seattle City Council
17   resolution calling for zero youth detention, Defendant decided to spend over $200 million to
18   build a new juvenile detention facility with 112 beds (the “New Facility”).
19          29.     In late 2016, Northwestern learned that King County was contemplating naming
20   the New Facility “the Children and Family Justice Center.” Northwestern sent a letter to
21   Defendant on December 22, 2016, objecting to Defendant’s possible use of the CHILDREN
22   AND FAMILY JUSTICE CENTER on two primary grounds. First, because detaining youth and
23   building facilities for that purpose conflicts with the CFJC’s core mission, and second, simply to
24   avoid confusion between Northwestern and Defendant and its New Facility. A copy of that
25   letter, to which Defendant never responded, is attached hereto as Exhibit 4.
26

                                                                              Perkins Coie LLP
     COMPLAINT – 5                                                       1201 Third Avenue, Suite 4900
                                                                           Seattle, WA 98101-3099
                                                                             Phone: 206.359.8000
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 1            30.   In May 2019, the King County Council introduced Ordinance 18961, which,
 2   among other things, proposed naming the New Facility after the late Judge and “revered
 3   community member” Patricia H. Clark. The King County Council passed Ordinance 18961 on
 4   July 24, 2019, and County Executive Dow Constantine approved it on July 31, 2019.
 5            31.   In or around February 5, 2020, Defendant announced that it was opening the New
 6   Facility and calling it the Judge Patricia H. Clark Children and Family Justice Center, or CFJC.
 7   In addition to juvenile detention services, Defendant offers, intends to offer, or intends to house
 8   other organizations that offer various juvenile and juvenile-justice-related services, including
 9   detention alternatives, family services, and other social services for youth and their families
10   (“Defendant Services”) under the CHILDREN AND FAMILY JUSTICE CENTER and CFJC
11   marks.
12            32.   On its website, Defendant repeatedly refers to the New Facility as the “Children
13   and Family Justice Center” and/or the “CFJC.” True and correct copies of Defendant’s website
14   are attached hereto as Exhibit 5.
15            33.   Northwestern has never authorized any of the above-recited activities or any other
16   use of the CFJC Marks in any manner whatsoever.
17            34.   On February 14, 2020, Northwestern sent Defendant a second letter again asking
18   that Defendant reconsider adopting the CFJC Marks in connection with the New Facility. That
19   letter is attached hereto as Exhibit 6. Defendant responded on March 3, 2020, declining to
20   discontinue its use of the CFJC Marks.
21            35.   Since then, Northwestern has engaged with Defendant in an attempt to resolve the
22   dispute amicably and avoid litigation, recognizing the additional burdens on the courts and
23   Defendant amidst the COVID-19 pandemic. During these discussions, King County repeatedly
24   stated that, if it was unwilling to consider a name change, it would inform Northwestern directly.
25   To facilitate those discussions, King County agreed that it would not use the negotiation period
26

                                                                                Perkins Coie LLP
     COMPLAINT – 6                                                        1201 Third Avenue, Suite 4900
                                                                            Seattle, WA 98101-3099
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 1   against Northwestern if discussions failed. On May 22, 2020, Defendant informed Northwestern
 2   that it would not consider a name change. A copy of that letter is attached hereto as Exhibit 7.
 3          36.      On information and belief, Defendant has willfully and intentionally engaged in
 4   the forgoing activities with the knowledge that the CFJC Marks were used and owned by
 5   Northwestern and that using the CFJC Marks in conjunction with the New Facility was
 6   unauthorized.
 7          37.      Defendant’s use of the CFJC Marks without permission is, and has been, a
 8   deliberate attempt to trade on the valuable trademark rights, goodwill, and consumer trust
 9   established by Northwestern in the CFJC Marks.
10          38.      Defendant’s actions have caused or are likely to cause significant harm to
11   Northwestern’s reputation and hard-earned goodwill and trust.
12                                       IV. CAUSES OF ACTION
13                                               COUNT I:
                                         False Designation of Origin
14
            39.      Northwestern incorporates by reference the allegations contained in the preceding
15
     paragraphs as if separately repeated here.
16
            40.      Defendant’s conduct as described herein constitutes false designation of origin in
17
     violation of 15 U.S.C. § 1125(a).
18
            41.      Defendant’s actions constitute the use in interstate commerce of a false
19
     designation of origin, false or misleading description of fact, or false or misleading
20
     representations of fact that are likely to cause confusion or mistake, or to deceive as to the
21
     affiliation, connection, or association of Defendant’s Services with Northwestern, or as to the
22
     origin, sponsorship, or approval of the services provided by Defendant in violation of 15 U.S.C.
23
     § 1125(a).
24

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                                                                                Perkins Coie LLP
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 1          42.     Consumers seeing Defendant’s use of such confusingly similar marks in the
 2   marketplace are likely to believe that Defendant and/or Defendant’s Services are the same as
 3   Northwestern or sponsored by, associated with, or otherwise affiliated with Northwestern.
 4          43.     Defendant’s infringing activities are knowing, willful, and intentional violations
 5   of Northwestern’s rights.
 6          44.     Defendant’s acts of false designation of origin, unless restrained, will cause great
 7   and irreparable harm to Northwestern and to the goodwill represented by the CFJC Marks, in an
 8   amount that cannot be ascertained at this time, leaving Northwestern with no adequate remedy at
 9   law.
10          45.     Northwestern is thus entitled to injunctive relief restraining Defendant from any
11   further acts of false designation of origin, as well as recovery of Northwestern’s costs and
12   reasonable attorneys’ fees under 15 U.S.C. §§ 1116, 1117, and 1125.
13                                           COUNT II:
                          Unfair and Deceptive Practices Act - RCW 19.86.020
14
            46.     Northwestern incorporates by reference the allegations contained in the preceding
15
     paragraphs as if separately repeated here.
16
            47.     Defendant’s foregoing acts constitute unfair methods of competition, and unfair
17
     or deceptive acts or practices in the conduct of trade or commerce, in violation of RCW
18
     19.86.020.
19
            48.     Defendant’s conduct affected and affects, and was contrary to, the public interest;
20
     tended and tends to mislead a substantial portion of the public; and has injured Northwestern in
21
     its business and property in the State of Washington.
22
            49.     As a result of Defendant’s conduct, Northwestern has been damaged and is
23
     entitled to recover the costs of litigation and attorneys’ fees, and to enjoin Defendant’s conduct.
24

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                                                                                Perkins Coie LLP
     COMPLAINT – 8                                                        1201 Third Avenue, Suite 4900
                                                                            Seattle, WA 98101-3099
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 1                                     COUNT III:
                   Common Law Trademark Infringement and Unfair Competition
 2
            50.     Northwestern incorporates by reference the allegations contained in the preceding
 3
     paragraphs as if separately repeated here.
 4
            51.     Defendant’s acts constitute common law trademark infringement and unfair
 5
     competition, and have created and, unless restrained by this Court, will continue to create a
 6
     likelihood of confusion to the irreparable injury of Northwestern.
 7
            52.     Northwestern has no adequate remedy at law for this injury.
 8
            53.     On information and belief, Defendant acted with full knowledge of
 9
     Northwestern’s use of, and common law rights to, the CFJC Marks and without regard to the
10
     likelihood of confusing the public created by Defendant’s activities.
11
            54.     Defendant’s actions demonstrate an intentional, willful, and malicious intent to
12
     trade on the goodwill associated with Northwestern’s CFJC Marks to the great and irreparable
13
     injury of Northwestern.
14
            55.     As a result of Defendant’s acts, Northwestern has been damaged in an amount not
15
     yet determined. At a minimum, however, Northwestern is entitled to injunctive relief.
16
                                      V.     PRAYER FOR RELIEF
17
            WHEREFORE, Northwestern seeks the following relief:
18
            A.      Defendant and all of its agents, officers, employees, representatives, successors,
19
     assigns, attorneys, and all other persons acting for, with, by, through, or under authority from
20
     Defendant, or in concert or participation with Defendant, and each of them, be enjoined
21
     preliminarily and permanently from:
22
                    (a)     using the CFJC Marks or any trademark, trade dress, service mark, name,
23
     logo, design, or source designation of any kind on or in connection with Defendant’s Services
24
     that is a copy, reproduction, colorable imitation, or simulation of, or confusingly similar to the
25
     CFJC Mark; and
26

                                                                                Perkins Coie LLP
     COMPLAINT – 9                                                         1201 Third Avenue, Suite 4900
                                                                             Seattle, WA 98101-3099
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 1                  (b)    using any trademark, trade dress, service mark, name, logo, design, or
 2   source designation of any kind on, or in connection with, Defendant’s Services that is likely to
 3   cause confusion, mistake, deception, or public misunderstanding that such services are produced
 4   or provided by Northwestern, are sponsored or authorized by Northwestern, or are in any way
 5   connected or related to Northwestern.
 6          B.      Defendant be required to pay Northwestern the costs of this action and
 7   Northwestern’s reasonable attorneys’ fees; and
 8          C.      For such other relief as the Court may deem just and proper.
 9
                                             By:     /s/ William C. Rava
10   DATED: July 3, 2020                     By:     /s/ Alison R. Caditz
11                                           William C. Rava, WSBA #29948
                                             Alison R. Caditz, WSBA #51530
12                                           Perkins Coie LLP
                                             1201 Third Avenue, Suite 4900
13                                           Seattle, WA 98101-3099
                                             Telephone: 206.359.8000
14
                                             Facsimile: 206.359.9000
15                                           Email: WRava@perkinscoie.com
                                                      ACaditz@perkinscoie.com
16
                                             Attorneys for Plaintiff
17                                           NORTHWESTERN UNIVERSITY

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                                                                              Perkins Coie LLP
     COMPLAINT – 10                                                      1201 Third Avenue, Suite 4900
                                                                           Seattle, WA 98101-3099
                                                                             Phone: 206.359.8000
                                                                              Fax: 206.359.9000
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                                          I KNOW
                                            MY RIGHTS.
                                             I WANT A
                                               LAWYER.
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                       EXHIBIT 2
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                           https://nyti.ms/298bNHr



High Court Call: Father's Rights
or Child's Interest
By Susan Chira

July 17, 1994




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Legal experts say the Illinois Supreme Court decision last week ordering that an
adopted child be given to his biological parents highlights the continuing
uncertainties about how to define fathers' rights and children's best interests.

These uncertainties could be resolved by the United States Supreme Court, where
the adoptive parents in the case say they plan to turn next.

The biological father of the child, a 3 1/2-year-old known as Baby Richard, won
custody after convincing the court that the infant should not have been adopted.
The father said that Richard's mother had falsely told him the baby had died, so he
was unable to assert his paternal rights.

Adoption advocates say the case has left parents worrying whether their adoptive
child's father might suddenly appear and claim the child they had reared. "This is a
dangerous precedent," said Mary Beth Style, the vice president of the National
Council for Adoption. "I've had calls coming in from frantic adoptive parents with a
4-, 5- 6-year-old kid saying, 'Can they take our kid?' " Emphasis on Following Rules

But several legal experts said that the circumstances of the Illinois case were so
rare that most parents need not fear losing their children. If parents make sure a
biological father knows about and consents to an adoption, they said, they will be
safe.

"The people who follow the rules of adoption have nothing to worry from this case,"
said Bruce Boyer, a lawyer with the Children and Family Justice Center of
Northwestern University Law School, who helped argue the case of the biological
father, Otakar Kirchner, who later married Richard's mother, Daniella.

The passions the case has unleashed recall the furor over the decision last year to
remove a 2-year-old girl, then known as Jessica DeBoer, from the parents who had
reared her and wanted to adopt her. The court awarded custody to her biological
father, whose girlfriend at first had said another man had fathered Jessica. That
decision, several adoption experts said, has emboldened more unwed fathers to try
to revoke children's adoptions, although several state courts have ruled against
them.

Adoption advocates argue that the Illinois case is far more damaging to adoption
than the DeBoer decision because Richard's adoption was approved by a lower
court, while the DeBoers never legally adopted Jessica. And unlike the DeBoers,
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who lost every court decision to the biological parents, the Illinois adoptive parents
had won two lower court rulings. The Illinois high court ruled that Baby Richard
could continue living with his adoptive parents temporarily. Fresh Ground for High
Court

Mr. Boyer said that Richard's biological father began trying to win custody when
the baby was less than 3 months old, before the adoption was complete, and that he
continued to appeal the adoption.

Jay Katz, professor of law, medicine and psychiatry at the Yale Law School, said the
Supreme Court had an opportunity to rule on an issue that it has never decided.
"Should biology come before whatever psychological needs the child might have to
a continuation of the relationship the child has established with his adoptive
parents?" Professor Katz said. "I would hope that biology alone should not be given
precedent."

Courts have usually ruled in favor of biological parents' rights, without considering
that children may have already formed intense psychological bonds to the adoptive
parent, said Albert J. Solnit, who framed the idea of an emotional bond in an 1979
book, "Beyond the Best Interests of the Child." 'Overly Simplistic'

But Mr. Boyer said that children's best interests might also lie in establishing a
relationship with biological parents who wanted them. "To assume that the best
interests of the child lie invariably in remaining with the psychological parent is
overly simplistic," he said. "The child has to consider all the issues arising from his
having parents out there who fought to get him back."

Scholars on both sides of the issue say recent cases point up problems with current
adoption laws. Although the Supreme Court has ruled since the mid-1970's that
courts must take into account the rights of unwed fathers, states have established
wildly varying standards for doing so, said Joan Heifetz Hollinger, a law professor
who is drafting a proposed adoption law as a standard for states.

In most states, as in Illinois, Professor Hollinger said, the law is vague about just
what fathers have to do to establish their paternal rights. Her proposal would
require fathers to file a paternity action once they know of a child's existence and to
try to pay child support and visit the child. It would also limit to six months after an
adoption the time that fathers could try to claim a child. Fathers' Registries
Proposed
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Elizabeth Bartholet, who argues in her book, "Family Bonds," (Houghton Mifflin),
that too many barriers to adoption now exist, has proposed fathers' registries,
where a man would acknowledge an infant's paternity and receive notice of any
adoption proceedings. If a father did not act within a certain period, he would have
no more claim to the child.

Others, like Marian Faupel, who represented the biological parents in the Baby
Jessica case, argue that the adoption process should take longer, to give biological
parents more time to make sure they want to give up their children.

In the end, one problem no one disputes is how much damage can be inflicted on
children when court cases drag on.

"The courts should be roundly condemned for a system that allows such delays,"
said Howard Davidson, director of the American Bar Association's Center on
Children and the Law. But Mr. Davidson said these cases had so far failed to prompt
overhauls of judicial systems to speed children's cases -- a change that would help
not only the comparatively rare adoption battles but the far more common disputes
over custody and foster care.
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                       EXHIBIT 3
Young Rape Victim a Symbol of Outrage : Comatose girl, 9, has become a focal point of ... Page 1
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  Young Rape Victim a Symbol of Outrage :
  Comatose girl, 9, has become a focal point of
  Chicago black community’s concerns. But some
  doubt wisdom of using tragedy to highlight
  public issues.
  By STEPHEN BRAUN
  MARCH 19, 1997
  12 AM
  TIMES STAFF WRITER

  She is 9 years old and blank to the outside world she once played in. She lies curled in fetal
  position in a rehabilitation clinic bed, under 24-hour watch by police guards. In the few waking
  moments that interrupt her fitful coma, her eyes open and eerie noises gush from her throat.


  She is Girl X, the victim of a brutal assault and rape in a seventh-floor stairwell at Chicago’s
  Cabrini-Green housing project--and an unwitting symbol of outrage in this city’s black community.


  In the two months that have passed since neighbors found Girl X unconscious--poisoned with
  gasoline and her belly scrawled with ink-stained gang signs--Chicago’s black leaders have raised
  more than $200,000 to help pay her medical bills and have cited her case as an example of a
  laundry list of social and cultural ills: the public’s inattention to sexual assault, the failure of police
  to devote adequate resources to inner city neighborhoods, the paltry coverage of ghetto crime by
  a mainstream media obsessed with the more middle-class and whiter trappings of the JonBenet
  Ramsey murder case.




https://www.latimes.com/archives/la-xpm-1997-03-19-mn-39907-story.html                                 3/12/2020
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  “Girl X’s case teaches us that we need to look much harder at what happens to young girls and
  teenagers, even in the toughest neighborhoods,” said Toylee Green, who directs a sexual assault
  program for a South Side Chicago YWCA. “The reality is that girls are being assaulted in housing
  project buildings in this city and they’re not getting the attention that the Girl X case has got.”




  “What’s unique in this case,” said former antiwar militant Bernardine Dohrn, who now heads the
  Northwestern University Law School’s Children and Family Justice Center, “is that there’s been such
  a clear and sustained response from the bottom up.”


  Yet some activists who played a critical role in raising funds for Girl X and awareness of her plight
  are cautioning about how far the private dimensions of a tragic case can be stretched to highlight
  public issues.


  “This is one situation where we decided that we were going to help,” said Marv Dyson, a radio
  station president who spearheaded the $200,000 fund-raising effort on behalf of Girl X. “But I think
  you get on shaky ground if you try to use this poor little girl’s tragedy to push some agenda that
  doesn’t fit.”


  In the weeks since WGCI AM (a soul oldies station) and FM (a black contemporary format) began
  appealing for money to help Girl X and her family, Dyson has been deluged with calls from
  relatives of other young assault victims asking for similar aid. Dyson has turned down the requests,
  not because he is any less sympathetic or fails to see the symbolic ties between the cases, but
  simply because Girl X’s case is different--both in her savage treatment and in the primal state in
  which she was left.



  “I appreciate what happens to all these victims,” Dyson said. “But this was unique. When you see
  her in that hospital bed, you get so sad and so [angry].”


  Dyson himself has a 9-year-old daughter, yet like so many Chicogans, the initial horrific report of

  Girl X’s plight on Jan. 9 passed him by. But columnists with the Chicago Defender, the city’s black

  newspaper, and the Chicago Sun-Times kept up public pressure--even as police investigators were
  unable to find any culprits (detectives have yet to make any arrests in the case).




https://www.latimes.com/archives/la-xpm-1997-03-19-mn-39907-story.html                            3/12/2020
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  When a morning drive-time disc jockey and a station personnel director showed him columns
  about the case on Jan. 30, Dyson was moved. The next day he told his staff the station had to do
  something. “We decided on a fund-raiser.”


  Parking a mobile studio outside the hospital where Girl X lay, station DJs held a 16-hour on-air
  marathon. All day long, listeners showed up at the hospital bearing checks and cash. Even after it
  ended, the checks kept coming. Los Angeles Lakers star Shaquille O’Neal sent $2,000. Geraldo
  Rivera gave $1,000 and had Dyson on his show. Nation of Islam Minister Louis Farrakhan provided
  security to take Girl X’s mother to her clinic every day. Even at the clinic, black staffers drop by the
  child’s room, checking on her progress as if the child “was their own,” Dyson said.


  Yet despite the black community’s instant embrace of Girl X, Dyson doubts that her case is any
  sort of turning point. “When this case dies away, it will be business as usual,” Dyson said. “I don’t
  see the mayor [Richard M. Daley] talking about it. I don’t see it stopping rapes. I don’t see police
  treating the less sensational cases any differently.”


  The only evident spillover, other activists say, is fear. At the Cabrini homes, young girls “aren’t
  being sent out by their moms to the store at night,” said Cora Moore, a Cabrini tenant leader. “You
  don’t see the girls running around the buildings like they used to. Their mothers keeping them
  home. Now they know what could happen.”


  Even that newfound caution, Moore worries, may not last. “You know what happens when people
  forget. Give ‘em a few months. Those youngsters will be out by themselves again in no time.”




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https://www.latimes.com/archives/la-xpm-1997-03-19-mn-39907-story.html                              3/12/2020
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December 22, 2016



King County Executive Dow Constantine
401 5th Ave. Suite 800
Seattle, WA 98104

Mayor Edward B. Murray
600 4th Avenue
Seattle, WA 98104

Dear Sirs,

Here at the Children and Family Justice Center in Chicago, a 25-year-old clinical program at
Northwestern Pritzker School of Law, faculty and students represent youth and their families in juvenile,
criminal, civil, and immigration proceedings.

From the time of "reform schools" on, juvenile justice has adopted euphemisms that hide what is being
done to youth from public view and debate.

While these terms may be intended to avoid demeaning young people, youth who have been "placed" in
a "youth center" understand very well that they are being forcibly incarcerated inside a juvenile jail or
prison cell.

We strenuously object to the use of our good name for a detention center – not only because youth do
better in community settings, but also because a name like ours obstructs public debate over that fact.

Sincerely,




Director
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Judge Patricia H. Clark
Children and Family Justice Center




    The new center will include:
•   Childcare for families on court business
•   More space for youth and family programs
•   A resource center connecting youth and families with services in their communities
•   A flexible & therapeutic juvenile detention with 100 fewer beds
•   Eco-friendly design with LEED Gold goal
•   Bike & pedestrian paths
•   More info and project updates




                                                                                    
    Design & Construction
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                                                                           
 Child Welfare


                                                                          
 Juvenile Justice




Replacing the Youth Services Center




                                                                            




      A crowded court lobby has no space for confidential conversations




“The water is brown and unfit to drink. The rusty pipes leak. The basement
floods and entire wings are shut down due to mold and unsafe conditions.
The heating and air conditioning systems barely work.

The waiting room is a bullpen. Families and children summoned to the
courthouse are herded into a single large room, where they do not have
enough places to sit and there are no private rooms to discuss the most
intimate family issues with attorneys."
Read more of Executive Dow Constantine and Prosecuting Attorney Dan Satterberg's
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  op-ed about the current building's conditions.




Outdated facilities to be replaced
The current Youth Services Center's aging facilities, some of which date back to 1952,
require increasingly costly maintenance. The facility has almost twice the number of
detention beds needed today, while lacking any space for youth and family programs
designed to prevent future court-involvement. After estimating the costs of a full
renovation and a price tag of over $40 million just to replace the existing facility's core
operating systems, the King County Executive, Superior Court and County Council
decided that it was time to replace the center altogether. In 2012, King County voters
agreed when they passed a levy for its replacement.


Supporting youth and families
The Children and Family Justice Center will replace the outdated Youth Services Center
with a flexible and therapeutic facility that provides modern youth and family court
services as well as a trauma-informed juvenile detention center. The new facility will
provide a respectful and supportive environment to link even more youth and families –
court-involved or not – with services and non-profit organizations in their own
communities. Construction at 12th Avenue and Alder Street in Seattle’s Central District
will begin in 2017. The new center will open in late 2019, and the parking garage is
scheduled to open in 2021.

King County is dedicated to best practices in child welfare cases, juvenile court
proceedings and juvenile detention. As a result, King County has one of the lowest youth
incarceration rates of any urban region in the United States. The County’s youth
detention population has declined almost 70% over the last decade with the help of
growing alternatives to court involvement and detention.




                           About the project | FAQs | Contact us

                  Website header art: Spirit of Our Youth by Marvin Oliver
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Facilities Management Division
500 Fourth Ave., Suite 800
Seattle, WA 98104


      Get directions




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February 14, 2020                                                                         William C. Rava
                                                                                 WRava@perkinscoie.com
                                                                                     D.   +1.206.359.6338
                                                                                     F.   +1.206.359.7338

VIA HAND DELIVERY & EMAIL (Prosecuting.Attorney@kingcounty.gov)

Jimmy Hung, Juvenile Division Chief
Stephanie Trollen, Juvenile Operations Manager
Kevin Wright, Civil Division Chief
Pete Ramels, Section Head, Transportation and Real Property
Prosecuting Attorney’s Office
King County Courthouse, W400
516 Third Avenue
Seattle, WA 98104

Re:      The Children and Family Justice Center

Dear King County Prosecuting Attorneys:

Perkins Coie represents Northwestern Pritzker School of Law, the Bluhm Legal Clinic, and the
Children and Family Justice Center (the “CFJC”), and I write today, as the CFJC did in
December 2016, to express concerns regarding King County’s use of the name and marks
CHILDREN AND FAMILY JUSTICE CENTER and CFJC in connection with its new juvenile
detention facility.

The CFJC, Its Services, and Its Trademark Rights

Founded in 1992, the CFJC is a comprehensive children's law office and part of the Bluhm Legal
Clinic at Northwestern Pritzker School of Law. CFJC faculty, staff, attorneys, and law students
work together to promote justice for children, adolescents, and their families through direct legal
representation, policy advocacy, and law reform. In all its activities, the CFJC strives to advance
the notion that youth matters, and that the justice system must consider the unique
characteristics, needs, and capacities of children and adolescents when determining how they
should be treated under the law. The CFJC also seeks to reduce the disproportionate
criminalization of youth of color and to reduce the over-incarceration of youth by expanding the
use of community justice alternatives.

Specifically, the CFJC represents young people on a wide range of matters, from delinquency to
immigration and asylum to cases addressing harsh sentencing practices or the collateral
consequences youth face after coming into contact with the law. The CFJC also actively
collaborates, in Chicago and nationally, on key policy and law reform initiatives affecting
children and adolescents. CFJC attorneys forge deep connections—from the grassroots level up


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to major government entities—to develop fair, effective, and lasting strategies for systems
reform. As a teaching institution, the CFJC trains law students in critical lawyering skills such as
interviewing, counseling, investigation, legal writing, negotiation, and oral advocacy. And as a
holistic children’s law center, the CFJC additionally serves as a field placement for training
masters-level social work students.

Although physically located in Chicago, the CFJC has a national footprint. Among other
activities, the CFJC publishes the Know Your Rights Zine and other juvenile-justice-related
materials, all of which are distributed nationwide; participates in national juvenile-justice-related
organizations, programs, and networks, such as the National Juvenile Defender Center, the
Campaign for the Fair Sentencing of Youth, and the MacArthur Foundation Models for Change;
and provides legal, expert, and related consulting services on cases and litigations across the
country. Northwestern Pritzker School of Law alumni, including students who studied and
practiced at the CFJC, practice law in jurisdictions throughout the country.

The CFJC has also been working in Washington state and with Washington state organizations
for many years. The CFJC has partnered with King County on a version of its Know Your
Rights Zine, available from Team Child at https://teamchild.org/wp-
content/uploads/2017/07/Washington-State-Know-Your-Rights-Graphic-Guide-2013.pdf; clinic
and CFJC attorneys have served as expert witnesses in several juvenile-justice- and public
defense-related matters, including In the Matter of Cummings (2004), In the Matter of Massey
(2006), and Best v. Grant County (2005); and the CFJC has worked with Washington state or its
political subdivisions on juvenile justice programs such as the MacArthur Foundation Models for
Change, NJDC assessment, and the Youth Registry Strategy Convening. CFJC alumni,
including the undersigned, also live and work in King County and elsewhere in Washington
state. We refer herein to the CFJC’s activities collectively as the “CFJC Services.” More
information about the CFJC, its programs, and the CFJC Services can be found at
http://www.law.northwestern.edu/legalclinic/cfjc/.

In connection with the CFJC Services, since 1992, the CFJC has continuously and without
interruption used the marks CHILDREN AND FAMILY JUSTICE CENTER and CFJC
(together, the “CFJC Marks”). The CFJC has invested significant time, energy, and resources in
promoting and offering the CFJC Services under the CFJC Marks; the CFJC has earned
significant third-party media attention, including in the New York Times and Los Angeles Times
and on CBS News and ABC News; and CFJC has won acclaim for its work, including receiving
the MacArthur Award for Creative and Effective Institutions in 2013. As a result of these
investments and efforts, the CFJC has developed substantial and valuable goodwill in the CFJC
Marks and owns strong common law rights in the CFJC Marks in many jurisdictions across the
United States, including in King County, Washington. The CFJC has also applied to register the
CFJC Marks at the United States Patent and Trademark Office; those applications are pending.



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The CFJC considers the CFJC Marks to be proprietary, highly valuable, and important assets of
the CFJC and its ongoing mission.

King County and Its Infringement of the CFJC Marks

In late 2016, the CFJC learned that King County was contemplating naming its new detention
center “the Children and Family Justice Center.” In part because detaining youth and building
facilities for that purpose conflicts with the CFJC’s core mission and in part simply to avoid
confusion between the two organizations, on December 22, 2016, the CFJC sent a letter to King
County (and Seattle) voicing its objection to King County’s possible use of the CHILDREN
AND FAMILY JUSTICE CENTER mark. A copy of that letter is enclosed. King County never
responded (nor did Seattle).

It now appears that King County intends to call its new juvenile detention facility the Judge
Patricia H. Clark Children and Family Justice Center and that, from that facility, in addition to
juvenile detention services, intends to offer or house other organizations that offer various
juvenile and juvenile-justice-related services, including detention alternatives, family services,
and other social services for youth and their families (the “King County Services”). On its
website, King County repeatedly refers to the facility as the “Children and Family Justice
Center” and/or the “CFJC.”

The CFJC is concerned that King County’s use of marks that are identical to the CFJC Marks in
connection with the similar and/or overlapping King County Services will cause confusion or
mistake as to a non-existent association or affiliation with the CFJC. This use would constitute
trademark infringement and unfair competition under the Lanham Act, 15 U.S.C. § 1125(a), and
under applicable Washington state unfair competition laws, entitling the CFJC to an award of
damages, attorneys’ fees and costs, and injunctive relief against King County.

Although it is fully prepared to defend its rights, the CFJC would of course prefer to resolve this
matter without the need for further legal action. To that end, the CFJC respectfully requests that
King County agree in writing by no later than February 28, 2020 that it will take the following
steps:

       1. By March 16, 2020, remove all references on the internet pages that King County
          operates or controls to the terms CHILDREN AND FAMILY JUSTICE CENTER
          and/or CFJC;

       2. By April 17, 2020, provide the CFJC with a written proposal to remove or cover all
          physical signs over which King County has control bearing the terms CHILDREN
          AND FAMILY JUSTICE CENTER and CFJC by no later than December 31, 2020;



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       3. Agree that, after March 16, 2020, King County will not order, produce, or cause to be
          ordered or produced any printed materials with the terms CHILDREN AND FAMILY
          JUSTICE CENTER and/or CFJC; and

       4. Agree that by no later than December 31, 2020, King County will have ceased and will
          forever desist from any and all use of the terms CHILDREN AND FAMILY JUSTICE
          CENTER and/or CFJC.

To be clear, although the CFJC does not support juvenile detention, it does not object to King
County’s provision of the King County Services from its newly-constructed facility. But King
County cannot use a confusingly-similar name for the facility from which to provide the King
County Services.

Thank you in advance for your prompt attention to this important matter. If you have any
questions concerning these issues, please contact me directly.

The CFJC reserves all of its rights and remedies.

Sincerely,



William C. Rava

WCR:jrs

cc:      Thad Chaloemtiarana, Pattishall McAuliffe, Chicago
         Jacquelyn R. Prom, Pattishall McAuliffe, Chicago




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                                                                May 22, 2020


VIA E-MAIL ONLY
E-Mail Address: WRava@perkinscoie.com

William C. Rava
Perkins Coie LLP
1201 3rd Avenue
Suite 4900
Seattle, WA 98101

         Re:      Children and Family Justice Center
                  COJK Reference: KCAO-5-55031

Dear Mr. Rava:

I write in response to your letter of May 13, 2020, in which you requested that by May 29 my
client provide a proposal that reflects a commitment by King County "to stop using the terms
Children Family Justice Center and CFJC." Respectfully, and to be clear, King County has never
committed to stop using the terms Children Family Justice Center or CFJC. And because we
believe as the USPTO does—that your client has no enforceable rights in either mark at this time—
King County cannot and will not commit to such a course.

Your May 13 letter makes clear a number of significant points only obliquely touched upon in the
draft complaint you provided to us previously, and all of these points underscore that King County
is well within its rights to continue its use of the terms Children and Family Justice Center and
CFJC as it has for years.1




1 I am not sure I understand your objection to our point that the name of the facility has been established by ordinance
and it would require an amendment of that ordinance to rename the facility. You mention that the ordinance does not
explain why the facility was named as it was. This is a non sequitur. Our point was simply the procedural point that
the name of the facility cannot be officially changed without the King County Council changing the ordinance naming
it.
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William C. Rava
May 22, 2020
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As an initial matter, your letter establishes that your client "of course has no objection to King
County using the name Patricia J. Clark on its new jail. The problem, rather, is the 'Children and
Family Justice Center' part of the name.'" You are aware that King County has been using these
terms to describe the facility since 2015. Indeed, taking the allegations of your draft complaint as
true, your client has been aware of King County's use of the terms "Children and Family Justice
Center" and "CFJC" since at least December 2016. King County finds it troubling that your client
would sit on any rights it might have had in the marks for years (and we believe there were none),
then wait to assert its alleged rights when concerns affecting the public health and safety have
never been greater.

Additionally, your letter explains that King County is using these terms to describe "its new jail."
Apparently to drive the point home, you refer to King County's facility as a jail no less than five
times in less than two pages. We are aware of no authority that establishes a local government's
prison system as "interstate commerce." As such, we fail to appreciate how your client can
establish King County's long-standing descriptions of "its new jail" as use of any mark in
commerce at all.

We have approached negotiations with an open mind. However, based on the office actions issued
by the Trademark Office on the subject marks, we are no longer inclined to recommend a name
change to our client.

Finally, we simply disagree with the position you take in your footnote regarding your client's
ability to overcome the USPTO's rejection of Northwestern's trademark applications. At best, the
terms your client seeks to register are descriptive in nature.

We believe this correspondence should conclude the matter. We are grateful for your civility in
our discussions to date. If you believe there are other issues beyond those addressed herein that
still require our attention, however, please let us know at your earliest convenience. Absent further
correspondence, we consider the matter closed.

                                                      Sincerely,

                                                      CHRISTENSEN O'CONNOR
                                                      JOHNSON KINDNESSPLLC




                                                      John D. Denkenberger
                                                      Direct Dial No.: 206.695.1749
                                                      E-Mail Address: john.denkenberger@cojk.com
JDD:bfm/snh
